           Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 1 of 21



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
COMMODITY FUTURES TRADING                       Civil Action No.: 09-CV-1749(GBD)
COMMISSION,

                           Plaintiff,

         -against-

STEPHEN WALSH,PAUL GREENWOOD,
WESTRIDGE CAPITAL MANAGEMENT,INC.,
WG TRADING INVESTORS,LP, WGIA,LLC,

                           Defendants,

WESTRIDGE CAPITAL MANAGEMENT
ENHANCEMENT FUNDS INC., WG TRADING
COMPANY LP, WGI LLC,K&L INVESTMENTS,
AND JANET WALSH,

                           Relief Defendants.


SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,
                                                Civil Action No.: 09-CV-1750(GBD)
         -against-

WG TRADING INVESTORS,L.P., WG TRADING
COMPANY LIMITED PARTNERSHIP,
WESTRIDGE CAPITAL MANAGEMENT,INC.,
PAUL GREENWOOD,and STEPHEN WALSH,

                           Defendants,

ROBIN GREENWOOD and JANET WALSH,

                           Relief Defendants.


    MEMORANDUM OF POINTS AND`AUTHORITIES IN SUPPORT OF THE
NINETEENTH JOINT APPLICATION OF THE RECEIVER AND ITS COUNSEL FOR
  ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
           INCURRED DURING THE PERIOD JANUARY 1, 2018
                      THROUGH JUNE 30,2018

3199953.2 ~ 078410-0043
           Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 2 of 21




TO:      THE HONORABLE GEORGE B. DANIELS
         UNITED STATES DISTRICT COURT

         This Memorandum of Points and Authorities("Memorandum")is being submitted by

Robb Evans &Associates LLC ("Receiver"1)for the Westridge Entities2 and the assets of

Stephen Walsh ("Walsh"), Paul Greenwood ("Greenwood"), and Janet Walsh ("J. Walsh"), and

the counsel employed by the Receiver, Frandzel Robins Bloom & Csato, L.C.("Frandzel"), in

support of their Nineteenth Joint Application for Allowance of Compensation and

Reimbursement of Expenses Incurred during the Period of January 1, 2018 through June 30,

2018 ("Nineteenth Application"). In the Nineteenth Application, for the period for January 1,

2018 through June 30, 2018 ("Nineteenth Application Period"), the Receiver requests interim

approval offees in the amount of$7,485.30 and reimbursement of expenses in the sum of

$1,286.04, Frandzel requests interim approval offees in the amount of$48,947.50 and

reimbursement of expenses in the amount of $5,458.453,and Barnes &Thornburg LLP requests

interim approval offees in the amount of $297.00 and reimbursement of expenses in the amount

of$274.50.

         Based on the relevant law, discussed in more detail below, the Receiver and Frandzel

request that the Court approve their fees and reimbursement of expenses as set forth in the

Nineteenth Application because all fees and expenses incurred by them were reasonable and


       1 Reference to the Receiver in this Memorandum means the Receiver, the Receiver's
deputies, and its staff.
      2 For purposes ofthis Memorandum,the "Westridge Entities" refers to Westridge Capital
 Management("Westridge"), WG Trading Company LP("WGTC"), WG Trading Investors, LP
("WGTI"), and business entities owned by or affiliated with them including Westridge Capital
 Management Enhancement Funds, Inc., K & L Investments, LLC, WGI LLC, WGTC Limited.
       3 Although the Receiver has been appointed over the Westridge Entities in both case Nos.
09-CV-1749("CFTC Action") and 09-CV-1750("SEC Action"), the amount offees sought by
the Receiver and Frandzel in this Nineteenth Application represents the total amount offees for
services rendered in both cases during the Nineteenth Application Period.

3199953.2 ~ 078410-0043                          2
           Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 3 of 21



necessary to the efficient and effective administration of this Receivership Estate in light ofthe

complexity, novelty and immediacy of the issues facing the Receiver and its counsel during the

Nineteenth Application Period. Therefore, the Receiver and Frandzel respectfully request that

the Court autl~orize the Receiver to pay~within 10 days from entry of an order approving the

Nineteenth Application, the approved fees and expenses which they have requested.

I.        BRIEF OVERVIEW OF THE PROCEDURAL BACKGROUND OF THE
          RECEIVERSHIP ESTATE AND SERVICES RENDERED BY THE RECEIVER
          AND FRANDZEL DURING THE NINETEENTH APPLICATION PERIOD

          A detailed recitation of the factual and procedural background ofthis matter is beyond

the scope of this Application; however, by way of summary the procedural background and

status ofthis receivership are as follows:

          On February 25, 2009, the SEC filed a complaint against certain ofthe Westridge

Entities, Greenwood and Walsh as well as J. Walsh and Robin Greenwood as relief defendants

(the "SEC Action"). Among the allegations in the SEC Action are that Walsh and Greenwood,

 while operating an investment scheme to defraud investors, violated Section 17(a)of the

 Securities Act of 1933, Section 10(b) ofthe Securities Exchange Act of 1934, and Sections 206

(1),(2), and (4)ofthe Investment Advisers Act of 1940. Because the fraud was ongoing, in

 order to preserve the status quo and protect the Court's ability to approve a fair distribution for

 victims ofthe fraud, the SEC sought an order which, among other things requested the

 appointment of a receiver to take control of the Westridge Entities as well as Walsh, J. Walsh

 and Greenwood. Thus, on February 25,2009, the District Court entered its Order appointing

Robb Evans &Associates LLC as the temporary receiver("SEC Initial Receivership Order")

 Among the duties and powers in the SEC Initial Receivership Order include preserving the status




3199953.2 ~ 0,78410-0043                           3
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 4 of 21



quo of the Westridge Entities as well as employing persons, including attorneys, to assist in

carrying out the Receiver's duties.4

         On February 25,2009,the CFTC filed a complaint against Walsh, Greenwood and

certain of the Westridge Entities (the "CFTC Action").5 Among othEr things, the CFTC Action

alleges that Walsh and Greenwood through the use of a scheme in which they "misappropriated

at least $553 million from commodity pool participants" violated Sections 4b(a)(2)and 4(1)(A)

&(B)ofthe Commodity Exchange Act, 7 U.S.C. Sections 6b(a)(2) and 6(1)(A)&(B), and

Section 4b(a)(1)ofthe Commodity Exchange Act as amended by the Food, Conservation, and

Energy Act of 2008. Because Walsh and Greenwood were still operating the commodity pool

there was a substantial threat that the fraud would continue. Therefore, in order to immediately

stop the fraudulent conduct and preserve the Court's ability to grant effective relief to the

investors, the CFTC sought an order which, among other things, requested the Court appoint a

receiver to take control over the assets of the Defendants. Consequently, on February 25, 2009,

the District Court entered its Order appointing Robb Evans &Associates LLC as the temporary

receiver("CFTC Initial Receivership Order"). Some of the duties and powers the conferred on

the Receiver in the CFTC Initial Receivership Order include: preserving, holding and managing

all receivership assets and perform all acts necessary to preserve the value ofthose assets and to




        4 On May 22,2009, the Court entered an order for a preliminary injunction(Document
No. 100)in which it ordered, among other things, that the Receiver should continue to serve in
this proceeding with all of the duties and powers set forth in the SEC Initial Receivership Order.

       5 In the CFTC Action, Westwood Capital Management Enhancement Funds Inc., WG
Trading Company LP, WGI LLC,K &L Investments and J. Walsh were also named as relief
defendants.

3199953.2 ~ 078410-0043                           4
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 5 of 21



choose and employ attorneys the Receiver "deems advisable or necessary in the performance of

duties and responsibilities" under the order.6

         The Receiver, after seeking the input from the SEC,the CFTC,and investment bankers,

among others, wasted no time in formulating and implementing an initial course of action which

included:

                  •       Managing an orderly liquidation ofthe hedged portfolio;

                  •       Identifying, evaluating, and securing the assets of the Westridge Entities,

                          Walsh, and Greenwood;

                  •       Determining the positions carried on the books and records ofthe

                          Westridge Entities for the investors;

                  •       Performing extensive and detailed forensic accounting on the Westridge

                          Entities;

                  •       Communicating with investors to commence in an effort to understand

                          their concerns and keep them abreast ofthe acts be taken by the Receiver;

                          and

                   ~      Studying business recprds and financial documents, and interviewing staff

                          member ofthe Westridge Entities to develop an understanding ofthe

                          business operations.




        6 On May 22,2009, the Court entered an order for a preliminary injunction(Document
No. 108)in which it ordered, among other things, that the Receiver should continue to serve in
this proceeding with all ofthe duties and powers set forth in the CFTC Initial Receivership
Order.


3199953.2 ~ 078410-0043                             5
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 6 of 21



         During the Second Application Period which covered the period from June 1, 2009

through December 31, 2009, the Receiver continued to implement the directives issued by this

Court in accordance with the Orders appointing the Receiver, which include the following:

                  •       Obtaining the Court's approval of a claims verification procedure and a

                          claims administration procedure, and in this regard, the Receiver is in the

                          process of verifying individual investor's claim amounts and resolving any

                          differences;

                          The negotiation of a comprehensive stipulated protective order to enable

                          the Receiver to provide documentation to investors so that they may have

                          an opportunity to review the requested documentation prior to making a

                          recommendation as to how the funds held by the Receiver should be

                          distributed;

                          Providing the Court with a recommendation concerning the release of

                          funds to by J. Walsh and subsequent negotiation of a line of credit to be

                          secured by a mortgage on Walsh's Florida residence;

                          Commencement ofthe liquidation of various assets owned by Greenwood;

                           and

                          Resolution of litigation involving Greenwood and Walsh, including the

                           negotiation of a tentative settlement involving Delaware Land Associates

                          (of which Walsh and Greenwood are the limited partners) which may

                           provide for a substantial benefit to the Receivership Estate.




3199953.2 ~ 078410-0043                              6
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 7 of 21



         During the Third Application Period, the Receiver continued with its efforts to implement

the directives issued by this Court in accordance with the Orders appointing the Receiver, which

include the following:

                  •       Preparation of a comprehensive Second Receiver's Report filed with the

                          Court in June 2010, which included a detailed reconciliation ofthe

                          complex financial relationship between the receivership entities managed

                          by Greenwood and Walsh;

                  •       Completion of a Stipulated Protective Order which was approved by the

                          Court, enabling investors to obtain and review thousands of pages of

                          documentation which they believe is necessary to prepare and analyze a

                          proposed plan of distribution;

                          Organization and preparation for athree-day meeting in Los Angeles with

                          virtually all of the investors in this case, in which the parties engaged in

                          substantive discussions concerning alternative distribution procedures

                          aimed at reaching a consensual distribution plan;

                          Analysis and consideration of potential claims against certain third-party

                          "winning" investors in order to maximize recovery to investors, including

                          developing a litigation strategy against certain "winning" investors; and

                          Continuing with the liquidation of Greenwood's and Walsh's vaxious

                          assets.

         During the Fourth Application Period, the Receiver's activities including the following:




3199953.2 ~ 078410-0043                              7
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 8 of 21



                  •       Continuing with the Receiver's efforts to reach a consensual distribution

                          plan, which included participating in a two-day meeting in New York with

                          the vast majority of the investors;

                  •       Proceeded with the Court-ordered claims administration process, including

                          reviewing the voluminous investor distribution plans, reviewing the

                          proposed plan filed by the CFTC and SEC,and commencing with the

                          analysis and formulation ofthe Receiver's own distribution plan;

                  •       Initiation of litigation against various third-party "winning" investors in

                          order to maximize recovery to investors; and

                  •       Continuing with the liquidation of Greenwood's and Walsh's various

                          assets, including the completion of an auction of a portion of Greenwood's

                          personal property collectibles.

         During the Fifth Application Period, the Receiver's activities included the following:

                  •       Reviewed and analyzed various distribution proposals submitted by the

                          investors and after consideration of the various proposals, the Receiver

                          prepared its own distribution plan which was submitted to the Court for

                          approval. The Court approved the Receiver's proposed plan of distribution

                          over the objection of various investors, and after defeating an emergency

                          motion filed by certain investors with the Second Circuit Court of Appeals

                          for a stay ofthe distribution, the Receiver disbursed $792,967,822.09 to

                          the investors, a return to investors of approximately 84.94% oftheir total

                          principal balances.




3199953.2 ~ 078410-0043                              g
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 9 of 21



                  •       The Receiver proceeded with the litigation against certain third-party

                          "winning" investors, including reviewing and responding to answers,

                          motions to dismiss or other pleadings filed in response to the complaints.

                          The Receiver has also engaged in settlement discussions with many ofthe

                          investors. With respect to one "winning" investor, the Receiver was able

                          to settle a claim without the need for initiating litigation which, after

                          approval by the Court, will return to the Receivership Estate in October

                          2011 approximately $21,000,000.00. The settlement ofthis particular

                          claim was finally reached with the consensus of the CFTC and SEC,as

                          well as investors that had previously objected to the terms of an initial

                          settlement.

                          Continuing with the liquidation of Greenwood's and Walsh's various

                          assets. In this regard, the Receiver completed the sale ofthe Walsh

                          residence and obtained Court approval for the auction of the remaining

                          farm equipment at the Grand Central pony farm.

                          Obtained Court approval of the settlement in the Pulte litigation and

                          related matters, which may, depending upon the value of certain real

                          property, result in a substantial return to the Receivership Estate.

         During the Sixth Application Period, the Receiver's activities included the following:

                          Following the distribution to investors by the Receivership Estate in the

                          sum of $792,967,822.09 in April 2011, the Receiver has engaged in the

                          process of defending the Court's Distribution Order in response to the




3199953.2 ~ 078410-0043                              9
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 10 of 21



                          appeals filed by various WGTC limited partners and the Kern County

                          Employees' Retirement Association.

                  •       The Receiver has assisted in the resolution of vaxious claims against

                          "winning" investors, including settlement negotiations with Coopers

                          Industries, Inc., resulting in a recovery to the estate of approximately

                          $11.9 million, a settlement with the Baptist Healthcare Systems, Inc.,

                          resulting in a settlement in favor of the estate for approximately $2.1

                          million, and a settlement with the University at Buffalo Foundation

                          resulting in a settlement in favor ofthe estate in the sum of $240,000.00.

                          The Receiver has also obtained from Continental Assurance Company the

                          sum of$21.6 million which was paid in October 2011 in accordance with

                          a previously Court-approved settlement. The Receiver is continuing to

                          assist counsel in the litigation against other "winning" investors.

                          Continuing with the liquidation of Greenwoods' various assets. In this

                          regard, the Receiver completed the sale ofthe remaining Greenwood

                          personal property collectibles, completed the auction of the remaining

                          farm equipment at the Grand Central Pony Farm, and is continuing with

                          its efforts to sell the various Greenwood residences and the Grand Central

                          Pony Farm.

         During the Seventh Application Period, the Receiver's activities included the following:

                          The Receiver formulated a second interim distribution plan pursuant to

                          which the Receiver proposed to distribute $40,000,000.00 to investors and




3199953.2 ~ 078410-0043                             1~
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 11 of 21



                           submitted a motion to the Court for approval ofthe second interim

                           distribution plan.

                   •       The Receiver assisted in the resolution of various claims against "winning

                           investors", including a settlement with Intermountain Healthcare which

                           will provide a recovery to the estate of approximately $5,300,000.00.

                   •       The Receiver continued its efforts to liquidate the Greenwoods' various

                           assets. In this regard, the Receiver inspected the Greenwoods' residences

                           and the Grand Central Pony Farm, met with Robin Greenwood's counsel

                           to discuss the sale of the properties, and diligently pursued the sales ofthe

                           properties.

          During the Eighth Application Period, the Receiver's activities included the following:

                           The Receiver obtained Court approval of a second interim distribution

                           plan pursuant to which the Receiver proposed to distribute $40 million to

                           investors.

                           The Receiver obtained approval of a motion for authority to sell the Grand

                           Central Pony Farm and the Greenwoods' remaining residences. The

                           Receiver has engaged in ongoing discussions and negotiations regarding

                           the sale of these remaining assets.

                           The Receiver has continued to assist in litigation and resolution of various

                           claims against "winning" investors, including the resolution of claims

                           asserted by James Carder against the estate, as well as claims the estate

                           holds against Carder as a "winning" investor.




3199953.2 ~ 07,8410-0043                             11
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 12 of 21



                             The Receiver has responded to ongoing discovery requests by various

                             investors pursuing third party claims against various insurers. In this

                             regard, the Receiver responded to voluminous documents requests and in

                             one instance, has had its deposition taken in connection with certain third

                             party litigation.

         During the Ninth Application Period, the Receiver's activities included the following:

                  •          Following the decision by the Second Circuit Court of Appeals affirming

                             the Receiver's distribution plan in this case, the Receiver disbursed $40

                             million to investors.

                  •          The Receiver negotiated a settlement with the Sun America entities, a

                             "winning" investor in the "clawback litigation", which has resulted in the

                             payment to the Receivership Estate of$41 million.

                             The Receiver negotiated and entered into a purchase and sale agreement

                             for the sale ofthe Grand Central Pony farm.

                             The Receiver responded to ongoing discovery requests by various

                             investors pursuing third party claims against various insurers, including

                             responding to voluminous document requests. In addition, the Receiver

                             has responded to document requests in connection with the ongoing

                             disputes between the CFTC and SEC, on the one hand, and Janet

                             Schaberg, on the other.

         During the Tenth Application Period, the Receiver's activities included the following:

                          • The Receiver completed the sale ofthe Grand Central Pony Farm resulting

                             in a net recovery to the estate in the sum of $14,345,520.23.


3199953.2 ~ 07841Q-0043                                12
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 13 of 21



                          • The Receiver obtained Court approval for anon-investor creditors' claims

                              verification procedure.

                          • The Receiver obtained from the Sun America entities the sum of $41

                              million, which was the result of a prior settlement•in the "clawback"

                              litigation.

                          • The Receiver obtained approval for a third interim distribution in the sum

                              of$50 million; however, the distribution has been postponed while the

                              Receiver investigates potential IRS tax claims against the defendants and

                              relief defendants.

                          • The Receiver has continued to respond to ongoing discovery requests by

                              various investors pursuing third-party claims against various insurers. In

                              addition, the Receiver has responded to requests from the U.S. Attorney's

                              Office for various documents in conjunction with the ongoing criminal

                              proceedings.

         During the Eleventh Application Period, the Receiver's activities included the following:

                          • The Receiver negotiated a resolution of a "clawback" claim against the

                              Trustees of Tufts College, which resulted in a recovery to the Receivership

                              Estate of $2,176,595.00.

                          • The Receiver also negotiated a resolution of a "clawback" claim against

                              Zephros Limited and Credit Suisse which resulted in a recovery to the

                              Receivership Estate of $3,384,000.00.

                          • The Receiver continues with its efforts to resolve the potential IRS tax

                              claims against individual defendants and various WG Entities, and has


3199953.2 ~ 078410-0043                                  13
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 14 of 21



                              kept the Court and all creditors advised of developments concerning this

                              issue.

                          • The Receiver has continued to respond to ongoing discovery requests by

                              various parties pursuing third-party claims, including•document

                              production requests and preparing the Receiver for his possible deposition

                              in these matters.

         During the Twelfth Application Period, the Receiver's activities included the following:

                          • The Receiver completed negotiations with, and obtained Court approval

                             for, a settlement with the Nebraska Investment Council of a "clawback"

                              claim against the Nebraska Investment Council, which resulted in a

                              recovery to the Receivership Estate of $800,000.00.

                          • The Receiver continued with its efforts to resolve the potential IRS tax

                              claims against individual defendants and various WG Entities, and has

                              kept the Court and all creditors advised of developments concerning this

                              issue.

                          • The Receiver has continued to respond to ongoing discovery requests by

                              various parties pursuing third-party claims, including document

                              production requests and preparing for its deposition in one ofthe third-

                              party litigation matters.

         During the Thirteenth Application Period, the Receiver's activities included the

following:

                          • The Receiver continued with its efforts to resolve the potential IRS tax

                              claims against individual defendants and various WG entities, including


3199953.2 ~ 078410-0043                                   14
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 15 of 21



                              the finalization of a stipulation with the IRS, as well as negotiations with

                              the State of New York concerning similar tax claims that it may assert. In

                              addition, the Receiver has kept the Court and all creditors advised of

                              developments concerning this issue.

                          • The Receiver has completed the sale of the Greenwoods' residences.

                          • The Receiver has continued to respond to ongoing discovery requests by

                              various parties in pursuing third party claims, including document

                              production requests, and has assisted creditors in the preparation of

                              documentation necessary for their ongoing third party litigation.

         During the Fourteenth Application Period, the Receiver's activities included the

following:

                          • The Receiver finalized stipulations with the IRS and State of New York

                              concerning potential tax claims that might be asserted against various

                              receivership defendants and individuals, and thereafter had the stipulations

                              approved by the Court resulting in the Receiver being able to proceed with

                              a third interim distribution to defrauded investors in the sum of

                              $75,712,831.

         During the Fifteenth, Sixteenth, Seventeenth, Eighteenth and Nineteenth Application

Periods, the Receiver's activities included the following:

                          • The Receiver continued with its efforts to liquidate the Receiver's interest

                              in the Liberty Hill and Sweetwater projects.




        ~ The Receiver continued to assist defrauded investors in their ongoing third-party
litigation against various entities.

3]99953.2 ~ 078410-0043                                 is
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 16 of 21



                           • The Receiver continued discussions with Orion Constellation regarding

                              the various liquidation scenarios for the liquidation offunds held by

                              Orion.

                           • The Receiver began the process of considering procedures necessary to

                              close the estate, including engaging in the form of consentjudgments that

                               will be required by the SEC and CFTC as part of the closing ofthe

                              Receivership Estate.

          At the end of the First Reporting Period(May 31, 2009), the Receiver had collected

$819,108,775.18. At the end ofthe Second Application Period(December 31, 2009), the

Receiver had collected total funds of $874,131,988.09. At the end ofthe Third Application

Period (June 2010),the Receiver had collected total funds of $875,649,715.59. At the end ofthe

Fourth Application Period (December 31, 2010), the Receiver had collected total funds of

$880,280,472.84. At the end ofthe Fifth Application Period (June 30, 2011),the Receiver had

collected total funds of $887,919,883.00. At the end of the Sixth Application Period

(December 31, 2011),the Receiver had collected total funds of $910,666,116.56. At the end of

the Seventh Application Period (June 30, 2012), the Receiver had collected total funds of

$934,878,175.21. At the end ofthe Eighth Application Period, December 31, 2012,the Receiver

 had collected total funds of $941,230,551.22. At the end of the Ninth Application Period,

 June 30,2013,the Receiver had collected total funds of $946,183,089.01. At the end of the

 Tenth Application Period, December 31, 2013, the Receiver has collected total funds of

$1,001,763,724.07. At the end ofthe Eleventh Application Period, June 30, 2014, the Receiver

 has collected total funds of $1,800,207,824.03. At the end ofthe Twelfth Application Period,

 December 31, 2014, the Receiver had collected total funds of $1,013,212,021.25. At the end of



 3199953.2 ~ 078410-0043                               16
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 17 of 21



the Thirteenth Application Period, June 30, 2015,the Receiver had collected total funds of

$1,019,902,218.84. At the end of the Fourteenth Application Period, December 31, 2015, the

Receiver had collected total funds of $1,020,411,608.52. At the end ofthe Fifteenth Application

Period, June 30, 2016, the Receiver had collected total funds of $1,023,395,999.43. At the end

ofthe Sixteenth Reporting Period, the Receiver had collected total funds of $1,023,549,815.49.

At the end ofthe Seventeenth Reporting Period, the Receiver had collected total funds of

$1,024,710,616.98. At the end of the Eighteenth Reporting Period, the Receiver had collected

total funds of $1,025,530,199.66. At the end ofthe Nineteenth Reporting Period, the Receiver

had collected total funds of $1,026,577,921.07. Notably, as of June 30, 2018, the Receiver had

disbursed to investors the sum of $978,343,168.17.8

         The following summarizes the legal services Frandzel provided the Receiver during the

Nineteenth Application Period:9

                          Assisted the Receiver in negotiating for the sale of the Receiver's interest

                          in the Liberty Hill project and in analyzing the liquidation issues for the

                          Orion Constellation Fund. Frandzel also engaged in discussions with the

                          SEC and CFTC regarding the form of consentjudgment for the Corporate

                          Defendants in this matter.

II.      LEGAL DISCUSSION OF THE FACTORS TO BE CONSIDERED BY THE
         COURT IN AWARDING FEES

         The CFTC Interim Order states:


       8 Both the Nineteenth Application and the Declaration of Brick Kane filed concurrently
herewith provide a more in-depth discussion ofthe actions taken by the Receiver during the
Nineteenth Application Period.
       9 Both the Nineteenth Application and the Declaration of Craig A. Welin filed
concurrently herewith provide a more detailed discussion of the legal services Frandzel provided
the Receiver during the Nineteenth Application Period.

3199953.2 ~ 078410-0043                             17
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 18 of 21



                 The Receiver and all personnel hired by the Receiver as herein authorized,
          including counsel to the Receiver, are entitled to reasonable compensation for the
          performance of duties pursuant to this Order ad for the cost of actual out-of-
          pocket expenses incurred by them,from the assets now held by, or in the
          possession or control of, or which may be received by the Defendants or Relief
          Defendants.

          While the SEC Interim Order states:

                  IT IS FURTHER ORDERED that the Defendants shall pay the reasonable
          costs, fees and expenses ofthe receiver incurred in connection with the
          performance of his duties described herein, including, but not limited to, the
          reasonable costs, fees and expenses of all persons who may be engaged or
          employed by the receiver to assist him in carrying out his duties and obligations.

          Applicable case law on equity receiverships sets forth the standards for approving

compensation paid to a Receiver and his counsel. Under the case law, the District Court has

discretion to determine compensation to be awarded to acourt-appointed equity receiver and his

or her counsel and may consider "all ofthe factors involved in a particular receivership" in

determining the appropriate fee, Securities &Exchange Comm'n v. Byers, 590 F. Supp. 2d 637,

644(S.D.N.Y. 2008)(citing Gaskill v. Gordon,27 F.3d 248,253(7t" Cir. 1994)). Although

 some authority, including judicial opinions in other cases and legal treatises, may provide

"convenient guidelines," a receivership is a "unique situation [that] renders direct reliance on

 precedent impossible." Securities &Exchange Comm'n v. W.L. Moody & Co., 374 F. Supp. 465,

480(S.D. Tex. 1974), affd 519 F.2d 1087(St" Cir. 1975).

          In allowing counsel fees in Securities Act receiverships, a court "will consider...the

complexity of problems faced, the benefit to the Receivership Estate, the quality of work

 performed, and the time records presented." Securities &Exchange Comm'n v. Fifth Ave. Coach

Lines, Inc., 364 F. Supp. 1220, 1222(S.D.N.Y 1973); see also Moody, 374 F. Supp. at 485

(stating that a "basic consideration is the nature and complexity ofthe legal problems confronted

 and the skill necessary to resolve them"); United States v Code Prods., 362, F. 2d 669,673 (3~a


 31999532 ,~ 078410-0043                           1g
          Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 19 of 21



Cir. 1966)(stating that a court should consider the time, labor, and skill required (but not

necessarily expended); the fair value of such time, labor and skill; the degree of activity; the

dispatch with which the work is conducted; and the result obtained). A "significant factor is the

amount of money involved" in the receivership. Moody, at 486. In essence, a receiver's legal

fees "must be reasonable in light ofthe services rendered by counsel and the amount of property

held in the receivership." Gasser v. Infanti Intl, Inc., 358 F. Supp. 2d 176, 182(E.D.N.Y. 2005)

         While "[r]esults are always relevant," the quality of a result should be measured by more

than just an increase in monetary value. Securities &Exchange Comm'n v. Elliott, 953 F.2d

1560, 1577(11th Cir. 1992), quoting Moody, 374 F. Supp. at 480. ("Even though a receiver may

not have increased, or prevented a decrease in, the value of the collateral, if a receiver reasonably

and diligently discharges his duties, he is entitled to compensation.") Obviously, overall results

can be determined only at the conclusion ofthe case, but the continued progress made by the

Receiver during the Eighteenth Application Period amply demonstrates the diligence and

thoroughness with which the Receiver and counsel approach their work and the substantial

benefit, both financial and intangible, that flowed from that work.

         Moreover, "[t]ime spent cannot be ignored." Moody, 374 F. Supp. at 483. This is

particularly true when the dimension and complexity of a receivership prevent counsel from

taking on other full time assignments. Id. at 483-486 (describing the efforts ofthe receiver

counsel's in the difficult task of determining ownership and disposability of a bank's assets and

the high priority given to the matter by counsel).

         Under these standards, the Receiver and Frandzel believe that the amount offees and

reimbursement of expenses sought in the Nineteenth Application are plainly reasonable. During

the Nineteenth Application Period, the Receiver has continued to pursue the primary objectives



3199953.2 ~ 07$410-0043                           19
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 20 of 21



of the Receivership Estate, namely, distribution offunds to the rightful investors as quickly as

possible. In this regard, the Receiver, during the Nineteenth Application Period, continued with

its efforts to liquidate its interest in various remaining assets, including the Orion Fund. The

Receiver also turned its efforts to wrapping up the Receivership EstatE, including the Receiver's

liquidation of its interest in the Liberty Hill project. Clearly, the Receiver's efforts during the

Nineteenth Application Period have resulted in tremendous benefit to all investors.

         All ofthe work billed in the various categories was geared to an orderly administration of

the estate in the most expeditious manner. As can been seen from the Invoices attached to the

declarations of Brick Kane and Craig A. Welin, a thoughtful approach was given to all tasks

undertaken and was arduously supervised. When possible, the duplication oftasks was avoided

and when it was necessary for duplicative work to be done (e.g. reviewing court orders, meetings

amongst attorneys), often times the work of only one professional has been charged.

Considering the complexity and quantity of the issues the Receiver had to address during this

case, the fees ofthe Receiver and Frandzel are justified and reasonable.



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3199953.2 ~ 078410-0043                             2~
         Case 2:09-cv-01750-GBD Document 894 Filed 06/06/19 Page 21 of 21




III.     CONCLUSION

         Based on the foregoing, as well as the information in the Nineteenth Fee Application, and

the declarations of Brick Kane and Craig A. Welin, the Receiver and Frandzel respectfully

request that the Court grant the Nineteenth Fee Application.


Dated: June 5,2019


                                                  /s/ Cram A. Welin
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3199953.2 ~ 078410-0043                          21
